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 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   MARTHA BOERSCH (CABN 126569)
 3 Chief, Criminal Division

 4 CHRISTIAAN HIGHSMITH (CABN 296282)
   DAVID WARD (CABN 239504)
 5 Assistant United States Attorneys

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7           Telephone: (415) 436-7200
             FAX: (415) 436-7230
 8           christiaan.highsmith@usdoj.gov
             david.ward@usdoj.gov
 9
     Attorneys for United States of America
10
                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                            SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                       )   NO. CR 20-00249 RS (LB)
                                                     )
15           Plaintiff,                              )
                                                     )   MOTION AND [PROPOSED] ORDER
16      v.                                           )   CONTINUING DEADLINE FOR UNITED STATES
                                                     )   TO FILE RESPONSE TO MOTION TO COMPEL
17                                                   )   AND RESETTING HEARING DATE [DKT. 275]
     MARCUS ANDRADE                                  )
18                                                   )   Hearing Date: February 15, 2024 (if necessary)
             Defendant.                              )   Court: Hon. Laurel Beeler, Courtroom B, 15th Fl.
19                                                   )
                                                     )
20                                                   )

21
             The United States hereby submits this motion and [proposed] order asking this Court to continue
22
     the government’s deadline to respond to Defendant Andrade’s Third Motion to Compel Discovery (Dkt.
23
     275) by two weeks, from Thursday, February 1, 2024, to Thursday, February 15, 2024. Defense counsel
24
     will not agree to this extension without significant concessions from the government, as discussed
25
     below. In support of its request, the government states the following and submits that there is good
26
     cause to grant the requested motion:
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     USA MOT AND [PROPOSED] SCHEDULING ORDER
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 1         1. On Thursday, January 25, 2024, at 8:44 p.m., counsel for Defendant Andrade filed the

 2            Defendant’s Third Motion to Compel Discovery, Dkt. 275 (“Motion to Compel”). Counsel

 3            did not consult with the government about the timing for the government’s response or

 4            scheduling the motion hearing.

 5         2. Further, defendant’s Motion to Compel repeatedly referenced a declaration by defense

 6            counsel, see, e.g., Dkt. 275, at 2 n.2, 4; however, the document is not accessible on the

 7            docket and government counsel did not receive the declaration via email from defense

 8            counsel until February 1, 2024, at 12:52 p.m. While defense counsel’s oversight appears

 9            inadvertent, the declaration includes attachments containing 112 pages of exhibits, which

10            government counsel did not receive from defense counsel until February 1, 2024, at

11            approximately 12:52 p.m. and later.

12         3. On Tuesday, January 30, 2024, counsel for the government met and conferred with counsel

13            for defendant Andrade and believed the parties had agreed to a two-week extension for the

14            government to file its opposition provided the government provide full images of the cell

15            phones seized from Andrade as soon as possible (provided the government had not

16            previously returned the devices to Andrade or his prior counsel).

17         4. But on January 31, 2024, defense counsel emailed government counsel and said that they

18            would now only agree to a continuance if the government would immediately produce a

19            much longer list of requested items.

20         5. Undersigned counsel for the government has been working diligently on this case, which

21            requires a tremendous amount of coordination and communication with law enforcement

22            agents and entities across multiple districts, which takes more time than in typical cases.

23         6. Additionally, government counsel has a previously scheduled international work trip the

24            week of February 5-9, and a meeting in New York on February 22, which he communicated

25            to defense counsel during the January 30 telephone call.

26         7. Further, at defendant’s request, the government agreed in January 2024 to a stipulation

27            vacating the March 11, 2024, trial date and resetting the trial date for August 5, 2024.

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 1         8. For all of the foregoing reasons, the government respectfully requests that the Court order the

 2            following briefing and hearing schedule on the Motion to Compel (Dkt. 275):

 3                a. Defense Motion to Compel (Dkt. 275) filed:        January 25, 2024

 4                b. Government response filed:                        February 15, 2024

 5                c. Defense reply filed:                              February 22, 2024

 6                d. Hearing Date:                                     February 29, 2024

 7

 8

 9 DATED: February 1, 2024                                Respectfully submitted,

10                                                        ISMAIL J. RAMSEY
                                                          United States Attorney
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12
                                                          ____________/s/_________________
13                                                        CHRISTIAAN HIGHSMITH
                                                          DAVID J. WARD
14                                                        Assistant United States Attorneys
15                                          [PROPOSED] ORDER
16         For the reasons stated above, and for good cause shown, the following briefing and hearing
17 schedule is hereby ORDERED:

18                a. Defense Motion to Compel (Dkt. 275) filed:        January 25, 2024
19                b. Government response filed:                        February 15, 2024
20                c. Defense reply filed:                              February 22, 2024
21                d. Hearing date:                                     February 29, 2024
22

23

24 DATED: __________________                                   _________________________
25                                                             HON. LAUREL BEELER
                                                               U.S. Magistrate Judge
26
27

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     USA MOT AND [PROPOSED] SCHEDULING ORDER
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